              Case: 22-1590          Document: 1      Filed: 07/05/2022      Page: 1




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                   100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt                POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
       Clerk                          CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                   Filed: July 05, 2022


Ms. Beth M. Rivers
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Office of the U.S. Attorney
211 W. Fort Street
Suite 2001
Detroit, MI 48226

                     Re: Case No. 22-1590, Daniel Allen, et al v. USA
                         Originating Case No. : 1:21-cv-10449

Dear Counsel,

   This appeal has been docketed as case number 22-1590 with the caption that is enclosed on a
separate page. The appellate case number and caption must appear on all filings submitted to the
Court. If the filing fee was not paid when the notice of appeal was filed, it must be paid to the
district court immediately.

   Before preparing any documents to be filed, counsel are strongly encouraged to read the Sixth
Circuit Rules at www.ca6.uscourts.gov. If you have not established a PACER account and
registered with this court as an ECF filer, you should do so immediately. Your password for
district court filings will not work in the appellate ECF system.

    At this stage of the appeal, the following forms should be downloaded from the web site and
filed with the Clerk's office by July 19, 2022. Additionally, the transcript order must be
completed by that date. For further information and instructions on ordering transcript
electronically, please visit the court's website.

                     Appellant:     Appearance of Counsel
                                    Civil Appeal Statement of Parties & Issues
              Case: 22-1590        Document: 1       Filed: 07/05/2022       Page: 2




                                 Disclosure of Corporate Affiliations
                                 Application for Admission to 6th Circuit Bar (if applicable)

                                 Appearance of Counsel
                   Appellee:     Disclosure of Corporate Affiliations
                                 Application for Admission to 6th Circuit Bar (if applicable)

    More specific instructions are printed on each form. If appellant's initial forms are not timely
filed or necessary fees paid, the appeal will be dismissed for want of prosecution. If you have
questions after reviewing the forms and the rules, please contact the Clerk's office for assistance.

                                                  Sincerely yours,

                                                  s/Michelle R. Lambert
                                                  Case Manager
                                                  Direct Dial No. 513-564-7035


Enclosure
         Case: 22-1590       Document: 1   Filed: 07/05/2022   Page: 3




           OFFICIAL COURT OF APPEALS CAPTION FOR 22-1590




DANIEL ALLEN; CATHLEEN ALLEN

        Plaintiffs - Appellants

v.

UNITED STATES OF AMERICA

        Defendant - Appellee
